       Case 19-15206-mdc        Doc 48
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                              UNITED STATES BANKRUTPCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                     Chapter 13
       VINCENT M. HARRIS



                             Debtor               Bankruptcy No. 19-15206-MDC



                                                  ORDER

          AND NOW, upon consideration of the Motion to Dismiss Case filed by William C. Miller, Standing

 Trustee, and after notice and hearing, it is hereby ORDERED that this case is DISMISSED and that any wage

 orders previously entered are VACATED.




      August 27, 2020

                                      _________________________________
                                                  Magdeline D. Coleman
                                                  Chief Bankruptcy Judge

William C. Miller, Trustee
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